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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

-------------------------------------- X
                                       :
ARTUR MACKOWIAK and BARBARA            :
                                                       Case No.:
MACKOWIAK,                             :
                                       :
                                                       COMPLAINT
               Plaintiff,              :
                                       :
                                                       DEMAND FOR JURY TRIAL
      vs.                              :
                                       :
PORTOLA PHARMACEUTICALS, INC.,         :
SCOTT GARLAND, HOLLINGS C.             :
RENTON, JEFFREY BIRD, LAURA BREGE, :
DENNIS FENTON, JOHN H. JOHNSON,        :
TED LOVE, DAVID C. STUMP, and H.       :
WARD WOLFF,                            :
                                       :
               Defendants.
-------------------------------------- X

       Plaintiffs Artur and Barbara Mackowiak (“Plaintiffs”), by and through their attorneys,

allege the following upon information and belief, including investigation of counsel and review

of publicly-available information, except as to those allegations pertaining to Plaintiffs, which

are alleged upon personal knowledge:

                                  NATURE OF THE ACTION

       1.      This is an action brought by Plaintiffs against Portola Pharmaceuticals, Inc.

(“Portola” or the “Company”) and the members of the Company’s board of directors (collectively

referred to as the “Board” or the “Individual Defendants” and, together with Portola, the

“Defendants”) for their violations of Sections 14(d)(4) and 14(e) of the Securities Exchange Act

of 1934 (“Exchange Act”), 15 U.S.C. §§ 78n(d)(4), 78n(e), 78t(a), respectively, and United States

Securities and Exchange Commission (“SEC”) Rule 14d-9, 17 C.F.R. §240.14d-9 (“Rule 14d-9”).

Plaintiffs’ claims arise in connection with the proposed tender offer (“Tender Offer”) by Alexion




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Pharmaceuticals, Inc., a Delaware corporation (“Parent”), through its subsidiary Odyssey Merger

Sub Inc. (“Purchaser,” and collectively with Parent, “Alexion”), to acquire all of the issued and

outstanding shares of Portola (the “Proposed Transaction”).

       2.      On May 5, 2020, Portola entered into an agreement and plan of merger, (the

“Merger Agreement”), whereby shareholders of Portola common stock will receive $18.00 in

cash for each share of Portola common stock they own (the “Offer Price”).

       3.      On May 27, 2020, in order to convince Portola’s shareholders to tender their

shares, the Board authorized the filing of a materially incomplete and misleading Schedule 14D-

9 Solicitation/Recommendation Statement (the “Recommendation Statement”) with the

Securities and Exchange Commission (“SEC”). In particular, the Recommendation Statement

contains materially incomplete and misleading information concerning: (i) the sales process; (ii)

the fairness opinion and financial analyses performed by the financial advisors to the Company,

Centerview Partners LLC (“Centerview” or the “Financial Advisors”); and (iii) certain financial

projections prepared by Portola and relied upon by the Financial Advisors.

       4.      The Tender Offer is scheduled to expire one minute after 11:59 p.m., Eastern

Time, on July 1, 2020 (the “Expiration Date”). It is imperative that the material information that

has been omitted from the Recommendation Statement is disclosed to the Company’s

shareholders prior to the forthcoming Expiration Date so they may make an informed

determination on whether to tender their shares.

       5.      For these reasons, and as set forth in detail herein, Plaintiffs seek to enjoin

Defendants from closing the Tender Offer or taking any steps to consummate the Proposed

Transaction, unless and until the material information discussed below is disclosed to Portola’s

shareholders or, in the event the Proposed Transaction is consummated, to recover damages




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resulting from the Defendants’ violations of the Exchange Act.

                                   JURISDICTION AND VENUE

          6.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391 as Plaintiff alleges violations of Sections 14(d)(4)

and 14(e) of the Exchange Act.

          7.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over each defendant by this Court permissible

under the traditional notions of fair play and substantial justice. “Where a federal statute such as

Section 27 of the [Exchange] Act confers nationwide service of process, the question becomes

whether the party has sufficient contacts with the United States, not any particular state.” Sec.

Inv’r Prot. Corp. v. Vigman, 764 F.2d 1309, 1315 (9th Cir. 1985). “[S]o long as a defendant has

minimum contacts with the United States, Section 27 of the Act confers personal jurisdiction over

the defendant in any federal district court.” Id. at 1316.

          8.      Venue is proper in this Court under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because Defendants are found or are inhabitants or

transact business in this District. Indeed, Portola’s common stock trades on the Nasdaq stock

market (the “Nasdaq”), which is headquartered in this District, rendering venue in this District

appropriate. See, e.g., United States v. Svoboda, 347 F.3d 471, 484 n.13 (2d Cir. 2003) (collecting

cases).

                                              PARTIES

          9.      Plaintiffs are, and have been continuously throughout all times relevant hereto, the




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owner of Portola common stock.

       10.     Defendant Portola is a Delaware corporation and maintains its principal executive

office at 270 East Grand Avenue, South San Francisco, California 94080. Portola is a global

biotechnology company focused on developing researching, developing, and commercializing

treatments of serious blood-related disorders. The Company’s common stock trades on the Nasdaq

under the ticker symbol “PTLA”.

       11.     Defendant Scott Garland (“Garland”) is, and has been at all relevant times, the

President and Chief Executive Officer and a director of the Company.

       12.     Defendant Hollings C. Renton (“Renton”) is, and has been at all relevant times, the

Chair of the Board of Directors of the Company.

       13.     Defendant Jeffrey Bird (“Bird”) is, and has been at all relevant times, a director of

the Company.

       14.     Defendant Laura Brege (“Brege”) is, and has been at all relevant times, a director

of the Company.

       15.     Defendant Dennis Fenton (“Fenton”) is, and has been at all relevant times, a

director of the Company.

       16.     Defendant John H. Johnson (“Johnson”) is, and has been at all relevant times, a

director of the Company.

       17.     Defendant Ted Love (“Love”) is, and has been at all relevant times, a director of

the Company.

       18.     Defendant David C. Stump (“Stump”) is, and has been at all relevant times, a

director of the Company.

       19.     Defendant H. Ward Wolff (“Wolff”) is, and has been at all relevant times, a director




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of the Company.

       20.     The defendants identified in paragraphs 11-19 are collectively referred to as the

“Individual Defendants” or the “Board.”

                              SUBSTANTIVE ALLEGATIONS

A. Background and the Unfair Offer Consideration

       21.     Portola is a global biotechnology that develops and commercializes novel

therapeutics in the areas of thrombosis, other hematologic diseases, and inflammation for patients

who currently have limited or no approved treatment options.

       22.     Portola’s lead product is Andexxa [coagulation factor Xa (recombinant),

inactivated-zhzo], which Portola markets in Europe under the brand name “Ondexxya.” Andexxa

is the first and only antidote approved by the U.S. Food and Drug Administration (the “FDA”) and

the European Commission (“EC”) for patients treated with rivaroxaban or apixaban, when reversal

of anticoagulation is needed due to life-threatening or uncontrolled bleeding.

       23.     Prior to the Alexion merger, Portola was marketing Betrixaban under the trade

name Bevyxxa, an oral anticoagulant drug which acts as a direct factor Xa inhibitor that has been

approved by the FDA to help prevent blood clots in adults hospitalized for acute medical illness

who are at risk for thromboembolic complications due to restricted mobility and other risk factors.

       24.     Prior to the Alexion merger Portola was also conducting clinical trials with

Cerdulatinib, an investigational oral, dual spleen tyrosine kinase (“SYR”) and Janus kinase

(“JAK”) inhibitor to treat hematologic cancers.

       25.     Portola was founded in 2003 and went public with the issuance of its Initial Public

Offering in May 2013.




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         21. Portola has been successful since going public and the Company continues to be

  well-positioned for continued growth.       Indeed, although Portola’s trading price dropped

  significantly when the Company released its fiscal 2019 fourth quarter and full-year financial

  results in late February 2020, its February 26, 2020 press release entitled Portola

  Pharmaceuticals Reports Fourth Quarter and Full-Year 2019 Financial Results and Provides

  Corporate Update assured the investing public that the Company as poised for sustained future

  growth, stating in part:

         “2019 was a year of significant accomplishments for Portola with the launch of
         our Gen 2 formulation of Andexxa in the United States and the approval and
         launch of Ondexxya in Europe. In 2020 we have several catalysts that we expect
         to drive further adoption and growth worldwide,” said Scott Garland, Portola's
         president and chief executive officer. "This includes the presentation of new
         clinical data, enhanced education and support related to reimbursement, the
         initiation of our urgent surgery study, and continued execution of the Ondexxya
         launch in Europe. Combined with the robust growth in the Factor Xa inhibitor
         market and our other strategic initiatives, we are confident that Andexxa has
         significant long-term growth potential.”

       22.     Indeed, on the February 26, 2020 conference call accompanying the release of these

financial results, Garland explained that he was “excited about our long-term growth opportunity”

and was “confident that Andexxa will continue to grow in 2020 and beyond,” noting that “Andexxa

is poised for significant growth” because: (i) Andexxa “is a novel product, addressing the unmet

need in a large and growing market,” (ii) Portola would have “multiple opportunities to further

increase the use of this important medicine through traditional label indications and geographic

expansions,” and (iii) “with the genericization of the Factor Xa inhibitor market, starting in 2023,

there will be even greater need for a specific FDA approved reversal agent for this increased patient

population.”

       23.     Garland further explained that Portola was “laser focused on driving near-term

revenue growth,” and had made the strategic decisions to “streamline” its plans to support Andexxa


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and Ondexxya by: (i) reducing spend on early stage and development programs in order to focus

its resources on the Andexxa revenue drivers and lifecycle management, (ii) discontinuing its

efforts to commercialize Bevyxxa, and (iii) postponing the forthcoming trials for Cerdulatinib

pending securing a partner.

        24.        Thus, the Proposed Transaction comes at a time when the Company’s recent and

future success was not fully reflected by its share price, and the Proposed Transaction will cash-

out Portola’s stockholders at a price that fails to adequately compensate them for the intrinsic value

of their shares.

        25.        Despite Portola’s intrinsic value and exceptional growth prospects, the Individual

Defendants are agreeing to sell the Company and deprive its stockholders of the ability to partake

in the Company’s future growth. The Individual Defendants breached their fiduciary duties owed

to the Company’s stockholders by agreeing to the Proposed Transaction for the unfair Offer

Consideration, and by allowing the unfair and flawed sales process to unfold in the manner that it

did, which has caused Plaintiffs and the Class to receive an inadequate Offer Consideration.

B.      The Proposed Transaction

        26.        On May 5, 2020, Alexion and Portola announced the Proposed Transaction in a

Press Release entitled Alexion to Acquire Portola, which stated in part:


        BOSTON & SOUTH SAN FRANCISCO, Calif.—(BUSINESS WIRE)—Alexion
        Pharmaceuticals, Inc. (NASDAQ:ALXN) and Portola Pharmaceuticals, Inc.
        (NASDAQ:PTLA) announced today that they have entered into a definitive
        merger agreement for Alexion to acquire Portola, a commercial-stage
        biopharmaceutical company focused on life-threatening blood-related disorders.
        Portola’s commercialized medicine, Andexxa® [coagulation factor Xa
        (recombinant), inactivated-zhzo], marketed as Ondexxya® in Europe, is the first
        and only approved Factor Xa inhibitor reversal agent, and has demonstrated
        transformative clinical value by rapidly reversing the anticoagulant effects of
        Factor Xa inhibitors rivaroxaban and apixaban in severe and uncontrolled
        bleeding. The acquisition will add near-term diversification to Alexion’s


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commercial portfolio and provides the opportunity to apply the company’s
demonstrated global commercial excellence to create long-term value for patients
and shareholders. The merger agreement has been unanimously approved by the
boards of Alexion and Portola.

“The acquisition of Portola represents an important next step in our strategy to
diversify beyond C5. Andexxa is a strategic fit with our existing portfolio of
transformative medicines and is well-aligned with our demonstrated expertise in
hematology, neurology and critical care,” said Ludwig Hantson, Ph.D., Chief
Executive Officer of Alexion. “We believe Andexxa has the potential to become
the global standard of care for patients who experience life-threatening bleeds
while taking Factor Xa inhibitors apixaban and rivaroxaban. By leveraging
Alexion’s strong operational and sales infrastructure and deep relationships in
hospital channels, we are well positioned to expand the number of patients helped
by Andexxa, while also driving value for shareholders.”

“In developing and launching Andexxa, Portola has established a strong
foundation for changing the standard of care for patients receiving Factor Xa
inhibitors that experience a major, life-threatening bleed. Andexxa rapidly
reverses the pharmacologic effect of rivaroxaban and apixaban within two
minutes, reducing anti-Factor Xa activity by 92 percent,” said Scott Garland,
President and Chief Executive Officer of Portola. “Given their enhanced
resources, global footprint and proven commercial expertise, we look forward to
working with Alexion to maximize the value of Andexxa. With their commitment
to commercial excellence, together, we will be able to drive stronger utilization of
Andexxa, increase penetration and accelerate adoption in the critical care setting.”

Transaction Details

Under the terms of the merger agreement, a subsidiary of Alexion will commence
a tender offer to acquire all of the outstanding shares of Portola’s common stock
at a price of $18 per share in cash. The tender offer is subject to customary
conditions, including the tender of a majority of the outstanding shares of Portola
common stock, the expiration or termination of the waiting period under the Hart-
Scott Rodino Antitrust Improvements Act of 1976 and receipt of certain other
regulatory approvals.

Following successful completion of the tender offer, Alexion will acquire all
remaining shares not tendered in the offer at the same price of $18 per share
through a merger. The transaction is expected to close in the third quarter of 2020.

Alexion will fund the transaction with cash on hand. As part of the acquisition,
Alexion will also be acquiring cash currently on Portola’s balance sheet, net of
debt of approximately $215 million that will become due upon closing. As of
December 31, 2019, cash and short-term investments were approximately $430
million. The actual amounts will be determined as of the transaction close.


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       RBC Capital Markets, LLC served as Alexion’s exclusive financial advisor.
       Centerview Partners served as Portola’s exclusive financial advisor. Cooley LLP
       served as Portola’s legal advisor.

       27.      Rather than continuing to build upon Portola’s improving prospects, the Offer

Consideration being offered to Portola’s public shareholders in the Proposed Transaction is unfair

and grossly inadequate because, among other things, the intrinsic value of Portola common stock

is materially in excess of the amount offered given the Company’s recent financial performance

and its prospects for future growth and earnings.

C.     The Preclusive Deal Protection Devices

       28.      To the detriment of Portola shareholders, the Individual Defendants agreed, in the

Merger Agreement, to certain onerous and preclusive deal protection devices that operate

conjunctively to make the Proposed Transaction a fait accompli and all but ensure that the

Proposed Transaction is consummated and that no competing offers emerge for the Company.

       29.      The Merger Agreement contains a restrictive no-shop provision that prohibits the

members of the Board from soliciting proposals relating to alternative offers or business

combinations.

       30.      The no-shop provision also prohibits, except under extremely limited

circumstances, the Individual Defendants from engaging in discussions or negotiations relating to

unsolicited proposals regarding alternative acquisitions or business combinations.

       31.      Further, the Board must provide Alexion with written notice of any Takeover

Proposal and must provide prior written notice of its intention to terminate the Merger Agreement

in favor of any Superior Proposal so that Alexion has the opportunity to adjust the terms and

conditions of the Merger Agreement so that the Takeover Proposal ceases to be a Superior

Proposal.




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       32.      In addition, the Merger Agreement provides that the Company will be required to

pay to Parent a termination fee of $51,500,000.00 to Alexion with respect to any termination under

the no-shop provisions.

       33.      Ultimately, these preclusive deal protection devices restrain the Company's ability

to solicit or engage in negotiations with any third party regarding a proposal to acquire all or a

significant interest in the Company. The aggregate effect of these preclusive deal protection

devices, viewed in light of Portola’s failure to engage in any meaningful outreach and the

materially inadequate consideration offered for Portola shares in the Proposed Transaction,

supports an inference that the Board was not acting in good faith in approving the terms of the

Merger Agreement.

       34.      Accordingly, Plaintiffs seeks injunctive and other equitable relief to prevent the

irreparable injury that the Company’s shareholders will continue to suffer absent judicial

intervention.

D.     The Recommendation Statement Omits Certain Material Information

       (i)      The Recommendation Statement Contains Materially False Statements and
                Omissions Regarding the Process by Which the Board Agreed to Sell the
                Company

       35.      On Page 16, the Recommendation Statement states that Portola had engaged in

strategic discussions with potential strategic partners for a European License of Ondexxya, and

“had discussions with several of such potential licensing partners, including Alexion,” but that

these discussions “ended in September 2019 when the Portola Board determined not to pursue a

licensing partnership for Ondexxya.” However, the Recommendation Statement fails to disclose:

(i) whether Portola executed any standstill agreements with one or more of these potential

counterparties the possibility of which is contemplated on Page 40 of the Schedule TO Tender



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Offer Statement, and if so, whether (ii) such standstill obligations contained “Don’t Ask, Don’t

Waive” (“DADW”) provisions.

       36.      On Pages 17 though 18, the Recommendation Statement states that the Board

directed Centerview to “contact a potentially interested industry participant (who had not

participated in the process with respect to ex-U.S. Andexxa license opportunities in 2019) in order

to explore whether there might be sufficient credible interest in a transaction with Portola” and

decided not to engage other potential acquirors because, given “the lack of interest of the party

Centerview contacted on March 3,” the Board “determined that contacting additional potentially

interested parties was unlikely to generate additional credible interest and the risks of outreach

outweighed the potential benefits in light of the low likelihood of generating such interest.” The

Recommendation Statement fails to disclose: (i) why the only potential counterparty that the Board

directed Centerview to contact with respect to a proposed transaction was a counterparty that had

not participated in the Ondexxya licensing process, and (ii) whether the potential counterparty that

the Board directed Centerview to contact provided a reason for its lack of interest and, if so, (iii)

the reason that was provided.

       37.      The Recommendation Statement fails to disclose the extent to which the Board

discussed the “certain updates” to the “treatment in Centerview’s financial analyses of obligations

under certain royalty agreements” pursuant to which the obligations would be treated in a manner

that would have significantly reduced Portola’s net debt from $162 million net debt under

Methodology 1 (the methodology that was employed during the negotiation of the Proposed

Transaction) to $66 million net debt or $122 million in net cash under Methodologies 2 and 3,

respectively.

       (ii)     The Recommendation Statement Contains False Statements and Omissions
                Related to the Management Projections and the Fairness Opinion



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        38.     The Recommendation Statement also omits material information regarding the

Company’s Financial Advisors’ Fairness Opinion and the various valuation analyses that the

Company’s Financial Advisors performed to render the opinion because it does not provide enough

information regarding the necessary data, support for conclusions, or the existence of, or basis for,

the underlying assumptions that underpin the fairness opinion. Specifically, the Recommendation

Statement does not disclose enough information regarding the financial projections, inputs and

assumptions for various financial valuations, and the Financial Advisors’ potential conflicts of

interest.   Without this information, stockholders cannot replicate the analyses, confirm the

valuations, evaluate the Financial Advisors’ opinion that the Offer Price is fair, or accurately assess

the reliability of the Fairness Opinion. The informative value of the Fairness Opinion is not in its

conclusions, but in the valuation analyses that support them. Thus, the key inputs, which are

intrinsically baked into those conclusions, must also be fairly disclosed.

        39.     With respect to the Management Projections, the Recommendation Statement fails

to disclose material information. With respect to these financial projections, directors are obligated

to provide complete valuation metrics to shareholders, particularly in cash-out transactions where

non-GAAP metrics were used by the banker, since such metrics are not uniformly defined and

shareholders are therefore unable to assess the utility and legitimacy of the actual metrics without

seeing the underlying components.

        40.     With respect to the Management Projections beginning on Page 29, the

Recommendation Statement fails to provide all of the financial projections provided by Portola

and relied upon by the Financial Advisors for purposes of the fairness analyses.

        41.     The Recommendation Statement omits entirely the: (i) individual drug segment

cash flow projections on which Centerview based the discounted cash flow analyses that were



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provided to and discussed with the Board on March 6, 2020 and March 27, 2020, and (ii) the

“certain downward adjustments” that were made to the Initial Long-Term Plan and upon which

Centerview based the revised discounted cash flow analysis that was provided to the Board on

March 27, 2020. See, In re Celera Corp. S’holder Litig., Cons. C.A. No. 6304-VCP, 2012 Del.

Ch. LEXIS 66, at *85 (Del. Ch. Mar. 23, 2012), aff’d in part, rev’d in part on other grounds, 59

A.3d 418 (Del. 2012).

       42.     With respect to both the Initial Long-Term Plan and the Updated Long-Term Plan,

the Recommendation Statement also does not provide projections for (i) adjusted depreciation &

amortization, (ii) capital expenses, (iii) changes in net working capital, (iv) the value of the

Company’s NOL carryforwards, (v) stock-based employee compensation, or (vi) any other line

items used in deriving the projected after-tax unlevered free cash flows.

       43.     The Recommendation Statement also omits material information regarding the

Financial Advisors’ Fairness Opinion and the various valuation analyses performed to render that

opinion. The description of the Fairness Opinion fails to include necessary underlying data,

support for conclusions, or the existence of, or basis for, underlying assumptions.

       44.     With respect to Centerview’s Selected Public Company Analysis beginning on page

35, the Recommendation Statement fails to disclose: (i) the full rationale and criteria that

Centerview relied on in selecting the companies as “relevant,” (ii) whether Centerview subtracted

one-time upfront partnering payments in calculating the comparable company revenue multiples,

and (iii) the full rationale and basis that Centerview employed in selecting a range for 2021 revenue

multiples of 4.0x to 6.0x and a range for 2022 revenue multiples of 3.0x to 4.0x.

       45.     With respect to Centerview’s Selected Precedent Transactions Analysis beginning

on Page 36, the Recommendation Statement fails to disclose: (i) the full rationale and criteria that




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Centerview relied on in selecting the transactions as “relevant,” (ii) whether the “2021E Forward

Revenue Multiple” and “2022E Forward Revenue Multiple” information in the table were actually

the one- and two-year forward revenue multiples implied by the transaction, (iii) whether

Centerview subtracted one-time upfront partnering payments in calculating the comparable

transaction revenue multiples, and (iii) the full rationale and basis that Centerview employed in

selecting a range for 2021 revenue multiples of 4.5x to 6.5x and a range for 2022 revenue multiples

of 4.0x to 5.5x.

       46.     With respect to Centerview’s Discounted Cash Flow Analysis (DCF) beginning on

Page 37, the Recommendation Statement fails to disclose: (i) the full rationale and basis for

selecting a discount rate range of 9.5% to 11.5%, (ii) whether Centerview selected the same

discount rate range in performing the sum-of-the-parts DCF analyses that were provided to the

Board on March 6, 2020 and March 27, 2020, (iii) the rationale and basis for selecting a perpetuity

decline rate range of (20.0%) to (30.0%), (iv) whether Centerview selected the same perpetuity

decline rate range in performing the sum-of-the-parts DCF analyses that were provided to the

Board on March 6, 2020 and March 27, 2020, and (v) a full sensitivity table based on the entire

range of discount and perpetuity decline rates. Without this information, it is impossible to

determine whether the discounted cash flow analysis actually provides a reasonable range for the

Company’s intrinsic value. Indeed, a banker can make any transaction seem “fair” simply by

changing the inputs and assumptions to project and discount future cash flows below the present

value of the merger consideration.

       47.     With respect to the Certain Updates beginning on Page 38, the Recommendation

Statement fails to disclose the unlevered free cash flow projections that were derived under

Methodology 2.




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                                         COUNT I
         (Against All Defendants for Violation of Section 14(e) of the Exchange Act)

       65.     Plaintiffs incorporate each and every allegation set forth as if fully set forth herein.

       66.     Section 14(e) of the Exchange Act provides that it is unlawful “for any person to

make any untrue statement of a material fact or omit to state any material fact necessary in order

to make the statements made, in the light of the circumstances under which they are made, not

misleading…” 15 U.S.C. §78n(e).

       67.     Defendants violated § 14(e) of the Exchange Act by issuing the Recommendation

Statement in which they made untrue statements of material facts or failed to state all material

facts necessary in order to make the statements made, in the light of the circumstances under

which they are made, not misleading, in connection with the Tender Offer. Defendants knew or

recklessly disregarded that the Recommendation Statement failed to disclose material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

       68.     The Recommendation Statement was prepared, reviewed, and/or disseminated by

Defendants. It misrepresented and/or omitted material facts, including material information

about the consideration offered to shareholders via the Tender Offer and the intrinsic value of the

Company.

       69.     In doing so, Defendants made untrue statements and/or omitted material facts

necessary to make the statements made not misleading. Each of the Individual Defendants, by

virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(e). The Individual Defendants were

therefore reckless, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Recommendation Statement, but nonetheless failed to obtain and



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disclose such information to shareholders although they could have done so without extraordinary

effort.

          70.   The omissions and incomplete and misleading statements in the Recommendation

Statement are material in that a reasonable shareholder would consider them important in

deciding whether to tender their shares. In addition, a reasonable investor would view the

information identified above which has been omitted from the Recommendation Statement as

altering the “total mix” of information made available to shareholders.

          71.   Defendants knowingly or with deliberate recklessness omitted the material

information identified above from the Recommendation Statement, causing certain statements

therein to be materially incomplete and therefore misleading.             Indeed, while Defendants

undoubtedly had access to and/or reviewed the omitted material information in connection with

approving the Proposed Transaction, they allowed it to be omitted from the Recommendation

Statement, rendering certain portions of the Recommendation Statement materially incomplete

and therefore misleading.

          72.   The misrepresentations and omissions in the Recommendation Statement are

material to Plaintiffs, and Plaintiffs will be deprived of her entitlement to make a fully informed

decision if such misrepresentations and omissions are not corrected prior to the Expiration Date.

                                        COUNT II
  (Against all Defendants for Violations of Section 14(d)(4) of the Exchange Act and SEC
                            Rule 14d-9, 17 C.F.R. § 240.14d-9)

          73.   Plaintiffs incorporate each and every allegation set forth as if fully set forth herein.

          74.   Defendants have caused the Recommendation Statement to be issued with the

intention of soliciting shareholder support of the Proposed Transaction.

          75.   Section 14(d)(4) of the Exchange Act and SEC Rule 14d-9 promulgated




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thereunder require full and complete disclosure in connection with tender offers. Specifically,

Section 14(d)(4) provides that:

                Any solicitation or recommendation to the holders of such a security
                to accept or reject a tender offer or request or invitation for tenders
                shall be made in accordance with such rules and regulations as the
                Commission may prescribe as necessary or appropriate in the public
                interest or for the protection of investors.

        76.     SEC Rule 14d-9(d), which was adopted to implement Section 14(d)(4) of the

Exchange Act, provides that:

                Information required in solicitation or recommendation. Any
                solicitation or recommendation to holders of a class of securities
                referred to in section 14(d)(1) of the Act with respect to a tender
                offer for such securities shall include the name of the person making
                such solicitation or recommendation and the information required
                by Items 1 through 8 of Schedule 14D-9 (§ 240.14d-101) or a fair
                and adequate summary thereof.

        77.     In accordance with Rule 14d-9, Item 8 of a Schedule 14D-9 requires a Company’s

directors to:

                Furnish such additional information, if any, as may be necessary to
                make the required statements, in light of the circumstances under
                which they are made, not materially misleading.

        78.     The omission of information from a recommendation statement will violate

Section 14(d)(4) and Rule 14d-9 if other SEC regulations specifically require disclosure of the

omitted information.

        79.     The Recommendation Statement violates Section 14(d)(4) and Rule 14d-9

because it omits material facts, including those set forth above, that render the Recommendation

Statement misleadingly incomplete. Defendants knowingly or with deliberate recklessness

omitted the material information identified above from the Recommendation Statement, causing

certain statements therein to be materially incomplete and therefore misleading. Indeed, while




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Defendants undoubtedly had access to and/or reviewed the omitted material information in

connection with approving the Proposed Transaction, they allowed it to be omitted from the

Recommendation Statement, rendering certain portions of the Recommendation Statement

materially incomplete and therefore misleading.

       80.      The misrepresentations and omissions in the Recommendation Statement are

material to Plaintiffs, and Plaintiffs will be deprived of the right to make a fully informed decision

if such misrepresentations and omissions are not corrected prior to the Expiration Date.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment and relief as follows:

       A.       Preliminarily enjoining Defendants and all persons acting in concert with them

from proceeding with the Tender Offer or taking any steps to consummate the Proposed

Transaction, until the Company discloses the material information discussed above which has been

omitted from the Recommendation Statement;

       B.       Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiffs rescissory damages

       C.       Directing the Defendants to account to Plaintiffs for all damages sustained as a

result of their wrongdoing;

       D.       Awarding Plaintiffs the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

       E.       Granting such other and further relief as this Court may deem just and proper.



                                         JURY DEMAND

       Plaintiffs demand a trial by jury on all issues so triable.




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 Dated: June 1, 2020                      MONTEVERDE & ASSOCIATES PC
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